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                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE


SAVANNAH LICENSING, LLC,                      )
    Plaintiff,                                )
                                              )       Civil Action No.
v.                                            )
                                              )
SNAPCHAT, INC.                                )       JURY TRIAL DEMANDED
     Defendant.                               )

           PLAINTIFF’S ORIGINAL COMPLAINT FOR PATENT INFRINGEMENT

           Savannah Licensing, LLC (“Savannah”) files this Original Complaint and demand for jury

trial seeking relief from patent infringement of the claims of U.S. Patent Nos. 8,680,992 (“the ‘992

patent”) and 9,454,777 (“the ‘777 patent”) (referred to as the “Patents-in-Suit”) by Snapchat, Inc.

(“Snapchat”).

     I.       THE PARTIES

     1. Plaintiff Savannah is a Texas Limited Liability Company with its principal place of

business located at 9901 Brodie Lane, Suite 160 PMB925, Austin, TX 78748.

     2. On information and belief, Snapchat is a corporation organized and existing under the laws

of the state of Delaware, with a principal place of business located at 2772 Donald Douglas Loop

N, Santa Monica, CA 90405. On information and belief, Snapchat sells and offers to sell products

and services throughout Delaware, including in this judicial district, and introduces products and

services that perform infringing methods or processes into the stream of commerce knowing that

they would be sold in Delaware and this judicial district. Snapchat can be served with process at

its registered agent, CORPORATION SERVICE COMPANY, 251 LITTLE FALLS DRIVE,

Wilmington, DE 19808, or anywhere else it may be found.

     II.      JURISDICTION AND VENUE



                                                  1
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    3. This Court has original subject-matter jurisdiction over the entire action pursuant to 28

U.S.C. §§ 1331 and 1338(a) because Plaintiff’s claim arises under an Act of Congress relating to

patents, namely, 35 U.S.C. § 271.

    4. This Court has personal jurisdiction over Defendant because: (i) Defendant is present

within or has minimum contacts within the State of Delaware and this judicial district; (ii)

Defendant has purposefully availed itself of the privileges of conducting business in the State of

Delaware and in this judicial district; and (iii) Plaintiff’s cause of action arises directly from

Defendant’s business contacts and other activities in the State of Delaware and in this judicial

district.

    5. Venue is proper in this district under 28 U.S.C. §§ 1391(b) and 1400(b). Defendant has

committed acts of infringement and is incorporated in Delaware. Further, venue is proper because

Defendant conducts substantial business in this forum, directly or through intermediaries,

including: (i) at least a portion of the infringements alleged herein; and (ii) regularly doing or

soliciting business, engaging in other persistent courses of conduct and/or deriving substantial

revenue from goods and services provided to individuals in Delaware and this District.

    III.    INFRINGEMENT

    A. Infringement of the ‘992 Patent

    6. On March 25, 2014, U.S. Patent No. 8,860,992 (“the ‘992 patent”, included as an

attachment and part of this Complaint) entitled “Measuring and Improving the Quality of a User

Experience” was duly and legally issued by the U.S. Patent and Trademark Office. Savannah owns

the ‘992 patent by assignment.

    7. The ‘992 patent provide an apparatus and associated systems and methods for improving a

user’s experience.



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    8. Snapchat designs, manufactures, markets and sells systems and processes for providing

user feedback from a device, that infringe one or more claims of the ‘992 patent, including one or

more of claims 1-29, literally or under the doctrine of equivalents. Defendant put the inventions

claimed by the ‘992 Patent into service (i.e., used them); but for Defendant’s actions, the claimed-

inventions embodiments involving Defendant’s products and services would never have been put

into service. Defendant’s acts complained of herein caused those claimed-invention embodiments

as a whole to perform, and Defendant’s procurement of monetary and commercial benefit from it.

    9. Support for the allegations of infringement may be found in the following preliminary

table:

 US8680992                          Snapchat (“The accused instrumentality”)

 1. A        The accused instrumentality practices a method for providing feedback from a
 method      device (e.g., a smartphone enabled with the accused instrumentality).
 for
 providin
 g
 feedback
 from a
 device,
 the
 method
 comprisi
 ng:




                                                 3
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        https://play.google.com/store/apps/details?id=com.snapchat.android&hl=en_US&g
        l=US




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        https://support.snapchat.com/en-US/a/shake-to-report




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        Source: Snapshots-Snapchat App on Android smartphone




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        Source: Snapshots-Snapchat App on Android smartphone




                                       7
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             Source: Snapshots-Snapchat App on Android smartphone



detecting    The accused instrumentality practices a method of detecting a user frustration
a user       event (e.g., detecting shaking of a smartphone enabled with the accused
frustratio   instrumentality).
n event;

             As shown below, when an issue, which incites user frustration, occurred at the
             interface of the accused instrumentality while using it, the user can provide
             feedback about the issue. The accused instrumentality provides a feature, shake the
             device, in order to provide the feedback. The shaking action gets detected by the

                                                8
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        accused instrumentality through the user device and it generates a pop-up option to
        select for sending the feedback. When the user selects a feedback message to be
        sent at the pop-up option, the accused instrumentality generates a feedback
        message package which includes information regarding the issue such as
        screenshots of the app to show where issue occurred, text, other additional
        information, etc. The user can send this message to the server of the accused
        instrumentality.




        https://support.snapchat.com/en-US/a/shake-to-report




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         Source: Snapshots-Snapchat App on Android smartphone




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         Source: Snapshots-Snapchat App on Android smartphone




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             Source: Snapshots-Snapchat App on Android smartphone



associati    The accused instrumentality practices a method of associating the user frustration
ng the       event (e.g., shaking a smartphone enabled with the accused instrumentality) with a
user         device event (e.g., selecting feedback on a pop-up message) that includes an active
frustratio   operation of the device (e.g., active operation of the accused instrumentality) at a
n event      time when the user frustration event (e.g., shaking a smartphone enabled with the
with a       accused instrumentality) occurred.
device
event
that

                                                12
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includes     As shown below, when an issue, which incites user frustration, occurred at the
an active    interface of the accused instrumentality while using it, the user can provide
operatio     feedback about the issue. The accused instrumentality provides a feature, shake the
n of the     device, in order to provide the feedback. The shaking action gets detected by the
device at    accused instrumentality through the user device and it generates a pop-up option to
a time       select for sending the feedback. When the user selects a feedback message to be
when the     sent at the pop-up option, the accused instrumentality generates a feedback
user         message package which includes information regarding the issue such as
frustratio   screenshots of the app to show where issue occurred, text, other additional
n event      information, etc. The user can send this message to the server of the accused
occurred     instrumentality.
;




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         https://support.snapchat.com/en-US/a/shake-to-report




         Source: Snapshots-Snapchat App on Android smartphone




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         Source: Snapshots-Snapchat App on Android smartphone




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             Source: Snapshots-Snapchat App on Android smartphone



forming      The accused instrumentality practices a method of forming an event package (e.g.,
an event     a feedback message) based at least in part on the user frustration event (e.g.,
package      shaking a smartphone enabled with the accused instrumentality) and the device
based at     event (e.g., selecting feedback on a pop-up message) that includes information
least in     indicating a level, a type of user frustration, and information related to routing
part on      (e.g., IP address of the server of the accused instrumentality) the event package
the user     (e.g., a feedback message) through a network (e.g., Internet).
frustratio
n event

                                               16
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and the      As shown below, when an issue, which incites user frustration, occurred at the
device       interface of the accused instrumentality while using it, the user can provide
event        feedback about the issue. The accused instrumentality provides a feature, shake the
that         device, in order to provide the feedback. The shaking action gets detected by the
includes     accused instrumentality through the user device and it generates a pop-up option to
informati    select for sending the feedback. When the user selects a feedback message to be
on           sent at the pop-up option, the accused instrumentality generates a feedback
indicatin    message package which includes information regarding the issue such as
g a level,   screenshots of the app to show where issue occurred, text, other additional
a type of    information, etc. The user can send this message to the server of the accused
user         instrumentality.
frustratio
n, and
informati
on
related to
routing
the event
package
through
a
network;
and




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         Source: Snapshots-Snapchat App on Android smartphone




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            Source: Snapshots-Snapchat App on Android smartphone



transmitt   The accused instrumentality practices transmitting the event package (e.g., sending
ing the     of feedback message).
event
package.
            As shown below, when an issue, which incites user frustration, occurred at the
            interface of the accused instrumentality while using it, the user can provide
            feedback about the issue. The accused instrumentality provides a feature, shake the
            device, in order to provide the feedback. The shaking action gets detected by the
            accused instrumentality through the user device and it generates a pop-up option to

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         select for sending the feedback. When the user selects a feedback message to be
         sent at the pop-up option, the accused instrumentality generates a feedback
         message package which includes information regarding the issue such as
         screenshots of the app to show where issue occurred, text, other additional
         information, etc. The user can send this message to the server of the accused
         instrumentality.




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         Source: Snapshots-Snapchat App on Android smartphone




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         Source: Snapshots-Snapchat App on Android smartphone




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             Source: Snapshots-Snapchat App on Android smartphone




   10. These allegations of infringement are preliminary and are therefore subject to change. For

instance, there are other of Defendant’s products that infringe.

   11. Snapchat has and continues to induce infringement. Snapchat has actively encouraged or

instructed others (e.g., its customers and/or the customers of its related companies), and continues

to do so, on how to use its products and services (e.g., systems and processes for providing user
                                                24
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feedback) such as to cause infringement of one or more of claims 1–29 of the ‘992 patent, literally

or under the doctrine of equivalents. Moreover, Snapchat has known of the ‘992 patent and the

technology underlying it from at least the filing date of the lawsuit.1                        For clarity, direct

infringement is previously alleged in this complaint.

       12. Snapchat has and continues to contributorily infringe. Snapchat has actively encouraged or

instructed others (e.g., its customers and/or the customers of its related companies), and continues

to do so, on how to use its products and services (e.g., systems and processes for providing user

feedback) such as to cause infringement of one or more of claims 1–29 of the ‘992 patent, literally

or under the doctrine of equivalents. Further, there are no substantial noninfringing uses for

Defendant’s products and services. Moreover, Snapchat has known of the ‘992 patent and the

technology underlying it from at least the filing date of the lawsuit. 2 For clarity, direct infringement

is previously alleged in this complaint.

       13. Snapchat has caused and will continue to cause Savannah damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ‘992 patent.

       B. Infringement of the ‘777 Patent

       14. On September 27, 2017, U.S. Patent No. 9,454,777 (“the ‘777 patent”, included as an

attachment and part of this Complaint) entitled “Measuring and Improving the Quality of a User

Experience Upon Receiving a Frustration Event Package” was duly and legally issued by the U.S.

Patent and Trademark Office. Savannah owns the ‘777 patent by assignment.

       15. The ‘777 patent provide an apparatus and associated systems and methods for improving a

user’s experience.




1
    Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.
2
    Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.

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   16. Snapchat designs, manufactures, markets and sells systems and processes for providing

user feedback from a device, that infringe one or more claims of the ‘777 patent, including one or

more of claims 1-10, literally or under the doctrine of equivalents. Defendant put the inventions

claimed by the ‘777 Patent into service (i.e., used them); but for Defendant’s actions, the claimed-

inventions embodiments involving Defendant’s products and services would never have been put

into service. Defendant’s acts complained of herein caused those claimed-invention embodiments

as a whole to perform, and Defendant’s procurement of monetary and commercial benefit from it.

Support for the allegations of infringement may be found in the following preliminary table:

  US9454777                         Snapchat (“The accused instrumentality”)

 1. A         The accused instrumentality practices a method to use feedback in a system
 method to    implemented by a computing device (e.g., a server of the accused
 use          instrumentality).
 feedback
 in a
 system
 implement
 ed by a
 computing
 device,
 comprisin
 g:




                                                26
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          https://play.google.com/store/apps/details?id=com.snapchat.android&hl=en_US
          &gl=US




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          Source: Snapshots-Snapchat App on Android smartphone




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              Source: Snapshots-Snapchat App on Android smartphone



receiving,    The accused instrumentality practices receiving, by the computing device (e.g., a
by the        server of the accused instrumentality), a frustration event package (e.g., a
computing     feedback message from a user of a smartphone enabled with the accused
device, a     instrumentality) comprising a user frustration event indicator (e.g., an indicator
frustration   which designates that the received message is a feedback message) and an
event         associated event indicator (e.g., an indicator to show attachments such as text,
package       image, etc. with the feedback message) that indicates a level and a type of user
comprisin     frustration associated with a user frustration event (e.g., shaking a smartphone
g a user      enabled with the accused instrumentality), wherein the user frustration event

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frustration   (e.g., shaking a smartphone enabled with the accused instrumentality) is
event         associated with a device event (e.g., selecting feedback on a pop-up message)
indicator     that includes an active operation of a device (e.g., active operation of the accused
and an        instrumentality) at a time when the user frustration event (e.g., shaking a
associated    smartphone enabled with the accused instrumentality) occurred.
event
indicator
that          As shown below, when an issue, which incites user frustration, occurred at the
indicates a   interface of the accused instrumentality while using it, the user can provide
level and a   feedback about the issue. The accused instrumentality provides a feature, shake
type of       the device, in order to provide the feedback. The shaking action gets detected by
user          the accused instrumentality through the user device and it generates a pop-up
frustration   option to select for sending the feedback. When the user selects a feedback
associated    message to be sent at the pop-up option, the accused instrumentality generates a
with a user   feedback message package which includes information regarding the issue such
frustration   as screenshots of the app to show where issue occurred, text, other addition
event,        information, etc. The user can send this message to the server of the accused
wherein       instrumentality. Upon information and belief, the server of the accused
the user      instrumentality receives the frustration event package comprising a user
frustration   frustration event indicator and an associated event indicator that indicates a level
event is      and a type of user frustration associated with a user frustration event (e.g.,
associated    shaking a smartphone enabled with the accused instrumentality), wherein the
with a        user frustration event (e.g., shaking a smartphone enabled with the accused
device        instrumentality) is associated with a device event (e.g., selecting feedback on a
event that    pop-up message) that includes an active operation of a device (e.g., active
includes      operation of the accused instrumentality) at a time when the user frustration event
an active     (e.g., shaking a smartphone enabled with the accused instrumentality) occurred.
operation
of a device
at a time
when the
user
frustration
event
occurred;




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          https://support.snapchat.com/en-US/a/shake-to-report




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              Source: Snapshots-Snapchat App on Android smartphone



determinin    The accused instrumentality practices a method of determining, by the computing
g, by the     device (e.g., a server of the accused instrumentality), feedback based at least in
computing     part on the user frustration event indicator (e.g., an indicator which designates
device,       that the received message is a feedback message) and the associated event
feedback      indicator (e.g., an indicator to show attachments such as text, image, etc. with the
based at      feedback message).
least in
part on the
user

                                                36
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frustration   As shown below, when an issue, which incites user frustration, occurred at the
event         interface of the accused instrumentality while using it, the user can provide
indicator     feedback about the issue. The accused instrumentality provides a feature; shake
and the       the device, in order to provide the feedback. The shaking action gets detected by
associated    the accused instrumentality through the user device and it generates a pop-up
event         option to select for sending the feedback. When the user selects a feedback
indicator;    message to be sent at the pop-up option, the accused instrumentality generates a
and           feedback message package which includes information regarding the issue such
              as screenshots of the app to show where issue occurred, text, other additional
              information, etc. The user can send this message to the server of the accused
              instrumentality.




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implement     The accused instrumentality practices a method of implementing, by the
ing, by the   computing device (e.g., a server of the accused instrumentality), a network action
computing     (e.g., notify the respective team of the accused instrumentality regarding the
device, a     feedback message) based on the determined feedback.
network
action
based on      As shown below, when an issue, which incites user frustration, occurred at the
the           interface of the accused instrumentality while using it, the user can provide
determine     feedback about the issue. The accused instrumentality provides a feature; shake
d             the device, in order to provide the feedback. The shaking action gets detected by
feedback.     the accused instrumentality through the user device and it generates a pop-up
              option to select for sending the feedback. When the user selects a feedback
              message to be sent at the pop-up option, the accused instrumentality generates a
              feedback message package which includes information regarding the issue such
              as screenshots of the app to show where issue occurred, text, other additional
              information, etc. The user can send this message to the server of the accused
              instrumentality.




              https://support.snapchat.com/en-US/a/shake-to-report


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              Source: Snapshots-Snapchat App on Android smartphone




   17. These allegations of infringement are preliminary and are therefore subject to change. For

       instance, there are other of Defendant’s products that infringe.

   18. Snapchat has and continues to induce infringement. Snapchat has actively encouraged or

instructed others (e.g., its customers and/or the customers of its related companies), and continues
                                                44
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to do so, on how to use its products and services (e.g., systems and processes for providing user

feedback) such as to cause infringement of one or more of claims 1–10 of the ‘777 patent, literally

or under the doctrine of equivalents. Moreover, Snapchat has known of the ‘777 patent and the

technology underlying it from at least the filing date of the lawsuit.3                        For clarity, direct

infringement is previously alleged in this complaint.

       19. Snapchat has and continues to contributorily infringe. Snapchat has actively encouraged or

instructed others (e.g., its customers and/or the customers of its related companies), and continues

to do so, on how to use its products and services (e.g., systems and processes for providing user

feedback) such as to cause infringement of one or more of claims 1–10 of the ‘777 patent, literally

or under the doctrine of equivalents. Further, there are no substantial noninfringing uses for

Defendant’s products and services. Moreover, Snapchat has known of the ‘777 patent and the

technology underlying it from at least the filing date of the lawsuit. 4 For clarity, direct infringement

is previously alleged in this complaint.

       20. Snapchat has caused and will continue to cause Savannah damage by direct and indirect

infringement of (including inducing infringement of) the claims of the ‘777 patent.



       IV.      JURY DEMAND

             Savannah hereby requests a trial by jury on issues so triable by right.

       V.       PRAYER FOR RELIEF

WHEREFORE, Savannah prays for relief as follows:

     a.      enter judgment that Defendant has infringed the claims of the Patents-in-Suit;




3
    Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.
4
    Plaintiff reserves the right to amend if discovery reveals an earlier date of knowledge.

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 b.   award Savannah damages in an amount sufficient to compensate it for Defendant’s

      infringement of the Patents-in-Suit in an amount no less than a reasonable royalty or lost

      profits, together with pre-judgment and post-judgment interest and costs under 35 U.S.C.

      § 284;

 c.   award Savannah an accounting for acts of infringement not presented at trial and an award

      by the Court of additional damage for any such acts of infringement;

 d.   declare this case to be “exceptional” under 35 U.S.C. § 285 and award Savannah its

      attorneys’ fees, expenses, and costs incurred in this action;

 e.   declare Defendant’s infringement to be willful and treble the damages, including attorneys’

      fees, expenses, and costs incurred in this action and an increase in the damage award

      pursuant to 35 U.S.C. § 284;

 f.   a decree addressing future infringement that either (i) awards a permanent injunction

      enjoining Defendant and its agents, servants, employees, affiliates, divisions, and

      subsidiaries, and those in association with Defendant from infringing the claims of the

      Patents-in-Suit, or (ii) awards damages for future infringement in lieu of an injunction in

      an amount consistent with the fact that for future infringement the Defendant will be an

      adjudicated infringer of a valid patent, and trebles that amount in view of the fact that the

      future infringement will be willful as a matter of law; and

 g.   award Savannah such other and further relief as this Court deems just and proper.



DATED: January 31, 2022                      Respectfully submitted,

                                             Chong Law Firm PA

                                             /s/ Jimmy Chong
                                             Jimmy Chong (#4839)
                                             2961 Centerville Road, Suite 350

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                                  Attorneys for Plaintiff




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